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                            UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                219 SOUTH DEARBORN STREET
                                   CHICAGO, ILLINOIS 60604
THOMAS G. BRUTON
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             12/08/2021                                          John Robert Blakey
                                                                    21cv6546




                                               David Jozwiak
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